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                  EXHIBIT 1
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                                 IN THE UNITED STATES DISTRICT
                            COURT FOR THE SOUTHERN DISTRICT OF
                               GEORGIA BRUNSWICK DIVISION

     JANICE THERESA DOLLAR, as     )
     Personal Representative of the ESTATE
                                   )
     OF MICHAEL LAMAR DOLLAR, and  )
     Individually,                 )    Case No.: 2:20-cv-00078-LGW-BWC
                                   )
                Plaintiff,         )
                                   )
          v.                       )
                                   )
     MONSANTO COMPANY,             )
                                   )
                Defendant.         )
                                   )
      JOINT STIPULATION AND [PROPOSED] ORDER GOVERNING PROTOCOL
         FOR DISCOVERY OF ELECTRONICALLY STORED INFORMATION

        For good cause shown, the Court hereby adopts and enters as an Order of this Court the

parties’ proposed Stipulation and Order Governing Protocol for Discovery of Electronically

Stored Information as follows:

        WHEREAS, counsel for Plaintiffs and Defendant (collectively, the “Parties,” and each, a

“Party”) have met and conferred regarding discovery of electronically stored information (“ESI”)

of the Parties;

        WHEREAS, the Parties have reached agreement on certain of the issues discussed

regarding such discovery;

        WHEREAS, the Parties have entered into this Stipulation and Order Governing Protocol

for Discovery of Electronically Stored Information (“Order”) to facilitate the just and speedy

conduct of discovery involving ESI and to promote, to the fullest extent possible, the resolution

of disputes regarding the discovery of ESI without Court intervention;

IT IS HEREBY ORDERED that:

I.      All Parties are bound by and subject to the terms of this Order.


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II.     Production Format of Defendant’s Electronically Stored Information

        A.    Definitions

              1.     “Document” means paper documents or electronically stored information

                     (ESI) existing in any medium from which information can be obtained or

                     translated into reasonably usable form.

              2.     “Native File(s)” means ESI in the file type for (or of) the application in

                     which such ESI is normally created, viewed and/or modified.

              3.     “Metadata” means: (i) information embedded in a Native File that is not

                     ordinarily viewable or printable from the application that generated,

                     edited, or modified such Native File; and (ii) information generated

                     automatically by the operation of a computer or other information

                     technology system when a Native File is created, modified, transmitted,

                     deleted or otherwise manipulated by a user of such system.

              4.     “Static Image(s)” means a representation of ESI produced by converting a

                     Native File into a standard image format capable of being viewed and

                     printed on standard computer systems. A Tagged Image File Format

                     (TIFF) image is an example of a Static Image.

              5.     “Load/Unitization file” means a set of paper-scanned images or

                     electronically processed files and indicates where individual pages or files

                     belong together as documents, including attachments, and where each

                     document begins and ends. A Load/Unitization file will also contain data

                     relevant to the individual documents, such as Metadata, coded data, and

                     OCR or Extracted Text.




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                6.      “OCR” means the optical character recognition file which is created by

                        software used in conjunction with a scanner that is capable of reading text-

                        based documents and making such documents searchable using

                        appropriate software.

                7.      “Extracted Text” means the text extracted from a Native File and includes

                        all header, footer and document body information.

                8.      Parties will use reasonable, best efforts to comply with the terms of this

                        production format.         In the event a party determines that it cannot

                        materially comply with any requirement herein, they will disclose their

                        inability to comply and parties will meet and confer regarding resolution

                        of the identified issue.

        B.      Format of Production

                1.      Paper Documents

        Paper documents, including spreadsheets maintained in paper form, will be produced as

TIFF images (consistent with the specifications in Section II.B.2.a.). The production will include

the appropriate Load/Unitization files which will, at a minimum, contain the following fields

(described in detail in Section II. B. 2. (e.) infra.):

                        a.       Beginning Production Number (ProdBeg),

                        b.       Ending Production Number (ProdEnd),

                        c.       Beginning Attachment Production Number (BegAttach),

                        d.       End Attachment Production Number (EndAttach),

                        e.       Custodian/Source,

                        f.       Confidentiality,




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                       g.    Document Type,

                       h.    Page Counts, and

                       i.    OCR.TXT file.

          In scanning paper documents, if a document is more than one page, to the extent

reasonably possible, the unitization of the document and any attachments or affixed notes should

be maintained as it existed when collected by the producing party. The parties may unitize their

documents using either physical unitization (i.e., based on physical binding or organizational

elements present with the original paper documents like staples, clips and binder inserts) or

logical unitization (i.e., a manual review of the paper to determine what logically constitutes a

document like page numbers or headers). The parties will meet and confer to resolve any related

issues.

                2.     ESI

                       a.    All TIFF-formatted documents will be single page, Group 4 TIFF

                             at 300 x 300 dpi resolution and 8.5 x 11 inch page size, except for

                             documents that in the producing party’s reasonable judgment

                             require a different resolution or page size. The requesting party

                             retains the right to request a TIFF image in a higher resolution or

                             larger page size if necessary to render the image legible or

                             understandable. If a color image is produced in black and white,

                             the receiving party may request the producing party to produce the

                             original, color image. After receiving such a request for color

                             production, the parties will meet and confer on a reasonable and

                             cost-effective means of providing the requested documents. To the




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                   extent possible, the original orientation shall be maintained (e.g.,

                   portrait-to-portrait and landscape-to-landscape). Such files will be

                   grouped in folders of no more than 1,000 TIFF files each unless

                   necessary to prevent files from splitting across a folder.

             b.    In the absence of agreement of the parties or order of Court, a

                   Static Image will be provided in TIFF format (.TIF files). The

                   image file names shall match the Bates number assigned to the

                   image. All documents are to be provided with multi-page

                   searchable OCR or Extracted Text files, as described in paragraph

                   (c).

             c.    Text Files. Full extracted text will be provided in the format of a

                   single *.txt file for each file (e.g., not one *.txt file per *.tif image).

                   Where ESI contains text that has been redacted under assertion of

                   privilege or other protection from disclosure, the redacted *.tif

                   image will be OCR’d and file-level OCR text will be provided in

                   lieu of extracted text. Searchable text will be produced as file-

                   level multi-page UTF-8 text files with the text file named to match

                   the beginning production number of the file. The full path of the

                   text file must be provided in the *.dat data load file.

             d.    There will be two Load/Unitization files accompanying all

                   productions. One will be the Image load file and the other will be

                   the Metadata load file. The specifics of these files are detailed in

                   (i) and (ii) below:




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                   (i)       Image Load File

                         •   Every Document referenced in a production image load file

                   shall have all corresponding images, text, and data logically

                   grouped together in a directory structure with a common key to

                   properly load the data.

                         •   Documents shall be produced in only one image load file

                   throughout the productions, unless that document is noted as being

                   a replacement document in the Replacement field of the data load

                   file.

                         •   The name of the image load file shall mirror the name of

                   the delivery volume, and should have an .lfp, .opt or .dii*

                   extension (e.g., ABC001.lfp). The volume names shall be

                   consecutive (i.e., ABC001, ABC002, et. seq.)            *If .dii file is

                   produced, the accompanying metadata load file shall be separate

                   from the .dii file and not contained within the .dii file.

                         •   The load file shall contain one row per Tiff image.

                         •   Every image in the delivery volume shall be contained in

                   the image load file.

                         •   The image key shall be named the same as the Bates

                   number of the page. Load files shall not span across media (e.g.,

                   CDs, DVDs, Hard Drives, etc.), i.e., a separate volume shall be

                   created for each piece of media delivered.




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                   (ii)       Metadata Load File

                          •   The metadata load file shall use the following delimiters:

                              - Column Delimiter: Pipe – | (ASCII 124)

                              - Text Qualifier: Caret – ^ (ASCII 94)

                              - New line: Registered sign - ® (ASCII 174)

                          •   Data for documents shall be produced in only one data load

                   file throughout the productions, unless that document is noted as

                   being a replacement document in the Replacement field of the data

                   load file.

                          •   The first record shall contain the field names in the order of

                   the data set forth in (B. 2. e.). Metadata fields that are not

                   applicable to a document shall be filled with a NULL value along

                   with fields that were not able to be obtained due to a processing

                   error or corrupt file.

                          •   All date fields shall be produced in "mm/dd/yyyy hh:mm:ss

                   AM" format.

                          •   A carriage-return line-feed shall be used to indicate the

                   start of the next record.

                          •   Load files shall not span across media (e.g., CDs, DVDs,

                   Hard Drives, etc.); a separate volume shall be created for each

                   piece of media delivered.




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                            •     The name of the metadata load file shall mirror the name of

                         the delivery volume, and shall have a .dat, .csv or .txt extension

                         (i.e., ABC001.dat).

                            •     The volume names shall be consecutive for each produced

                         source. (i.e., ABC001, ABC002, et. seq.).

                    e.   Except as set forth herein, ESI will be produced to the requesting

                         party as Static Images together with a Load/Unitization file that

                         will contain the Metadata fields described below on the document

                         level, except as set forth in section (B.) (2.) (l.) infra.         The

                         following fields associated with each electronic document

                         including the body of the document, will be produced in the

                         appropriate Load/Unitization file.



           Field          Summation Field              Definition            Doc     Source: Load
                             (Florida)                                       Type     File (L) or
                                                                                     Metadata (M)
1    SOURCE              SOURCE                 Name of party               All     L
                                                producing the document
2    CUSTODIAN           CUSTODIAN              Name of person or data      All     M or L
                                                source (non-human)
                                                from where documents/
                                                files are produced.
                                                **Where redundant
                                                names occur,
                                                individuals should be
                                                distinguished by an
                                                initial which is kept
                                                constant throughout
                                                productions (e.g., Smith,
                                                John A. and Smith, John
                                                B.)
3    CUSTODIAN ID        CUSTODIAN ID           Each CUSTODIAN              All     M or L
                                                from #2 above will be
                                                assigned a unique
                                                numeric identifier that
                                                will be maintained
                                                throughout productions.


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               Field      Summation Field               Definition            Doc     Source: Load
                             (Florida)                                        Type     File (L) or
                                                                                      Metadata (M)
4      BEGBATES         BEGDOC#                  Beginning Bates             All     L
                                                 Number (production
                                                 number)
5      ENDBATES         ENDDOC#                  End Bates Number            All     L
                                                 (production number)
6      PGCOUNT          PGCOUNT                  Number of pages in the      All     L
                                                 document
7      FILESIZE         FILESIZE                 File Size                   All     M
8      APPLICAT         APPLICAT                 Commonly associated         All     M
                                                 application for the
                                                 specified file type. (See
                                                 2 (l) below).
9      FILEPATH         FILEPATH (for Edocs)     File source path for all    All     M
                        FOLDER (for emails)      electronically collected
                                                 documents and emails,
                                                 which includes location,
                                                 folder name, file name,
                                                 and file source
                                                 extension.
10     NATIVEFILELINK   DOCLINK                  For documents provided      All     L
                                                 in native format only
11     TEXTPATH         LOGFILE             or   File path for OCR or        All     L
                        FULLTEXT                 Extracted Text files per
                                                 paragraph (d) above
12     MSGID            MSGID                    Email system identifier     Email   M
                                                 assigned by the host
                                                 email system. Value
                                                 extracted from parent
                                                 message during
                                                 processing
13     FROM             FROM                     Sender                      Email   M
14     TO               TO                       Recipient                   Email   M
15     CC               CC                       Additional Recipients       Email   M
16     BCC              BCC                      Blind Additional            Email   M
                                                 Recipients
17     SUBJECT          SUBJECT                  Subject line of email       Email   M
18     PARENTBATES      PARENTID                 BeginBates number for       Email   L
                                                 the parent email of a
                                                 family (will not be
                                                 populated for documents
                                                 that are not part of a
                                                 family)
19     ATTACHBATES      ATTACHID                 Bates number from the       Email   L
                                                 first page of each
                                                 attachment
20     BEGATTACH        (will be provided from   First Bates number of       Email   L
                        ATTRANGE)                family range (i.e. Bates
                                                 number of the first page
                                                 of the parent email)




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               Field            Summation Field                Definition            Doc      Source: Load
                                   (Florida)                                         Type      File (L) or
                                                                                              Metadata (M)
21     ENDATTACH              (will be provided from    Last Bates number of         Email   L
                              ATTRANGE)                 family range (i.e., Bates
                                                        number of the last page
                                                        of the last attachment)
22     ATTACHCOUNT            ATTACHMENT                Number of attachments        Email   L
                              COUNT                     to an email
23     ATTACHNAME             ATTACHMENT LIST           Name of each individual      Email   M
                                                        attachment
24     DATESENT               DATESENT                  Date Sent                    Email   M
       (mm/dd/yyyy hh:mm:ss
       AM)
25     DATERCVD               DATERCVD                  Date Received                Email   M
       (mm/dd/yyyy hh:mm:ss
       AM)
26     EMAILDATSORT           DATESENT                  Sent Date of the parent      Email   L
       (mm/dd/yyyy hh:mm:ss                             email (physically top
       AM)                                              email in a chain, i.e.
                                                        immediate/direct parent
                                                        email)
27     READ/UNREAD                                      Whether the Outlook          Email   M
                                                        item was read or unread
                                                        at the time of collection.
                                                        Values provided will be
                                                        “Yes” for read, “No” for
                                                        unread, and a null value
                                                        where the read/unread
                                                        flag value is unavailable.
28     Email Outlook Type     Email Outlook Type        Type of Outlook item,        Email   M
                                                        e.g. email, calendar
                                                        item, contact, note, task
29     HASHVALUE              MD5 HASH                  MD5 Hash Value for           Edocs   M
                                                        Edocs
30     TITLE                  DOCTITLE                  Title provided by user       Edocs   M
                                                        within the document
31     AUTHOR                 AUTHOR                    Creator of a document        Edocs   M
32     DATECRTD               DATECRTD                  Creation Date                Edocs   M
       (mm/dd/yyyy hh:mm:ss
       AM)
33     MODIFIED BY            LAST EDITED BY            Person who has               Edocs   M
                                                        modified a document
34     LASTMODD               LASTMODD                  Last Modified Date           Edocs   M
       (mm/dd/yyyy hh:mm:ss   (mm/dd/yyyy hh:mm:ss
       AM)                    AM)




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                  Field     Summation Field               Definition           Doc     Source: Load
                               (Florida)                                       Type     File (L) or
                                                                                      Metadata (M)
35     DocumentType       DocumentType             Descriptor for the type    All     M
                                                   of document:
                                                   "E-document" for
                                                   electronic documents
                                                   not attached to emails;
                                                   "Emails" for all emails;
                                                   "E-attachments" for
                                                   files that were
                                                   attachments to emails;
                                                   and "Physicals" for hard
                                                   copy physical
                                                   documents that have
                                                   been scanned and
                                                   converted to an
                                                   electronic image.
36     Importance         Importance               High Importance –          Email   M
                                                   indicates Priority in
                                                   Email message.
37     Redacted           Redacted                 Descriptor for             All     M
                                                   documents that have
                                                   been redacted. "Yes"
                                                   for redacted documents;
                                                   "No" for unredacted
                                                   documents.
38     ProdVol            ProdVol                  Name of media that data    All     M
                                                   was produced on.

                                                   Wave 001 – Hard Drive
39     Confidentiality    Confidentiality          Indicates if the           All     M
                                                   document has been
                                                   designated as
                                                   “Confidential” pursuant
                                                   to any applicable
                                                   Protective Order. “Yes”
                                                   for Confidential
                                                   documents; “No” for
                                                   documents that are not
                                                   so designated.
40     Color              Color                    Flag to indicate that      All     M
                                                   document contains
                                                   color. Values provided
                                                   will be “Yes” for color,
                                                   “No” for no color,
41     FILENAME           @C FILENAME              Original filename at the   All     M
                                                   point of collection,
                                                   without extension of
                                                   native file
42     FILEEXTENSION      @C FILEEXT               File extension of native   All     M
                                                   file




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This list of fields does not create any obligation to create or manually code fields that are not

automatically generated by the processing of the ESI; that do not exist as part of the original

Metadata of the document; or that would be burdensome or costly to obtain. The parties retain

the right to move the Court for the production of additional electronic metadata fields should

ongoing discovery reveal the need for such Metadata. The designation of a document as a

"Protected Document" pursuant to the Protective Order of Confidentiality shall include the

metadata produced for that document.

                      f.     Bates Numbering: All images must be assigned a Bates/control

                             number that shall always: (1) be unique across the entire document

                             production, (2) maintain a constant length (zero/0-padded) across

                             the entire production, (3) contain no special characters or

                             embedded spaces, and (4) be sequential within a given document.

                             If a Bates number or set of Bates numbers is skipped in a

                             production, and not otherwise identified on a privilege log, the

                             producing party will disclose the Bates numbers or ranges in a

                             cover letter accompanying the production.        Production Bates

                             numbers shall be endorsed on the lower right corner and shall not

                             obscure any portion of the original file.           Confidentiality

                             designations, if any, shall be endorsed on the lower left corner of

                             applicable images and shall not obscure any portion of the original

                             file.

                      g.     When processing ESI, GMT should be selected as the time zone.

                             To the extent that a party has already processed ESI using a




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                    different time zone, the producing party will note the time zone

                    used in its processing.

              h.    Documents with dynamic fields for file names, dates, and times

                    will be processed to show the field code (e.g., “[FILENAME]” or

                    “[AUTODATE]”), rather than the values for such fields existing at

                    the time the file is processed.

              i.    When the Static Image is produced, the producing party shall make

                    reasonable attempts to maintain and not modify the original Native

                    File and its metadata.

              j.    The parties will meet and confer regarding collection and

                    production of ESI stored in databases and other structured data

                    under the custody and control of the parties.

              k.    Electronic file collection will be “De-NISTed”, removing

                    commercially available operating system and application files

                    contained on the current NIST file list. Identification of NIST list

                    matches will be through MD5 Hash values.

              l.    User-generated files that have been collected that cannot be

                    produced and/or imaged because of technical issues should be

                    identified as exception files and included on a log that lists all

                    metadata set forth in paragraph 2(e) except that the metadata for

                    the APPLICAT field will be obtained from binary encoding from

                    the file, and reason for exception: for example, corruption,

                    unavailable password protection, proprietary software, or other




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                    technical issues. The producing party shall provide a copy of this

                    log with its production. If the receiving party requests production

                    of any files listed on the exception log, the parties will meet and

                    confer, including on any reasonable and cost-effective means of

                    providing the requested data.

              m.    “Duplicate ESI” means files that are exact duplicates based on the

                    files’ MD5 or SHA-1 hash value. The producing party need only

                    produce a single copy of responsive Duplicate ESI. De-duplication

                    shall not break apart families and shall be performed at a family

                    level.     Defendants will globally (e.g., both within a particular

                    custodian’s file and across all custodian/databases) de-duplicate

                    identical ESI as follows:

                    (1)      Electronic Files: Electronic files will be de-duplicated based

                             upon calculated MD5 Hash values for binary file content.

                             File contents only will be used for MD5 Hash value

                             calculation and will not include operating system metadata

                             (filename, file dates) values.

                    (2)      Messaging Files:      Messaging files will be de-duplicated

                             based upon MD5 Hash values for the message family,

                             including parent object and attachments.      The following

                             fields will be used to create the unique value for each

                             message: To; From; CC; BCC; Date Sent; Subject; Body;

                             and, MD5 Hash values for all attachments, in attachment




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                         order. Messaging materials will be de-duplicated at a family

                         level, including message and attachment(s).

                    (3) Log Files: For the existing file collection containing fully

                         processed duplicate files and messages, duplicate documents

                         will be listed in a de-duplication log including the same

                         agreed production format meta-data structure and data

                         delivery criteria as for the "master" production documents.

                         Moving forward, as collected electronic materials are

                         globally de-duplicated during system intake using the above

                         guidelines, defendants will produce logs containing the meta-

                         data field values for de-duplicated files.       As document

                         production begins for additional custodians and during

                         rolling productions for existing custodians, an updated de-

                         duplication log shall be produced for each production. The

                         metadata provided will be an accurate representation of the

                         data existing for the documents at the time of collection.

              n.    Parent-Child Relationship. Parent-child relationships (e.g., the

                    associations between emails and their attachments) shall be

                    preserved. Email and other ESI attachments will be produced as

                    independent files immediately following the parent or email or ESI

                    records. Parent-child relationships will be identified in the data

                    load file pursuant to paragraph II. B. 2. e.




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              o.    Email Threading. Email threads are email communications that

                    contain prior or lesser-included email communications that may

                    also exist separately in a Party’s electronic files. A most inclusive

                    email thread is one that contains all of the prior or lesser-included

                    e-mails, including attachments, for that branch of the email thread.

                    The Producing Party shall produce the most inclusive email thread

                    and all prior or lesser included email threads that were collected

                    and identified as responsive and not privileged.

              p.    Embedded Objects: Objects embedded in Microsoft Word and

                    .RTF will be extracted as separate documents and produced as

                    attachments to the document.

              q.    Compressed files. Compression file types (i.e., .CAB, .GZ, .TAR.

                    .Z, .ZIP) shall be decompressed in a reiterative manner to ensure

                    that a zip within a zip is decompressed into the lowest possible

                    compression resulting in individual folders and/or files.

              r.    Replacement files:     Any documents that are replaced in later

                    productions shall be clearly designated as such, by appending a “-

                    R” to the production prefix and by a letter accompanying the

                    production clearly designating such documents as replacements.

              s.    Native Files. The parties acknowledge that production in TIFF

                    and load file format may be inadequate for certain types of ESI

                    (e.g. spreadsheets). The following files shall be produced in native

                    format (except for redacted documents):




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                    i.     All audio files and video files shall be produced in native

                           format with the source file path provided.

                    ii.    Electronic spreadsheet (e.g., Excel), electronic presentations

                           (e.g., PowerPoint), desktop databases (e.g., Access), and

                           audio/video multimedia files shall be produced in native

                           format whenever possible. The production of the electronic

                           spreadsheets shall include hidden rows, columns and

                           worksheets. Native Excel files will be redacted by

                           overwriting the data contained in a particular cell, row,

                           column or tab with the term “REDACTED.” If the

                           production party deems it necessary to produce redacted

                           Excel (or other spreadsheet formats) in any format other than

                           Native, the parties should meet and confer before such a

                           production is made.

                    iii.   Electronic presentations (e.g. PowerPoint). The production of

                           the electronic presentation files shall include comments,

                           hidden slides, speaker notes, notes and similar data. To the

                           extent native files are produced without an accompanying

                           rendering of TIFF images, a slip sheet will be produced in

                           TIFF format to facilitate Bates and confidentiality stamping.

                           If documents requested in native format require redactions,

                           the parties will produce TIFF images for those documents.

                           Confidentiality of documents produced in native will be




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                          noted in the File Name along with the Bates number and in a

                          metadata field.     If a dispute arises with respect to the

                          provision, the parties agree to meet and confer in an effort to

                          resolve their differences. Should the producing party collect

                          Statistical Analysis System, the parties shall meet and confer

                          regarding production format prior to production.

                    iv.   Word Processing Files. Word processing files including

                          limitation Microsoft Word files (*.doc and *.docx), with

                          tracked changes and comments showing. Such word files will

                          be produced in native format.

              t.    Emails: Emails will be produced with the CC and BCC line

                    displayed.

              u.    Word Processing Files. Word processing files, including without

                    limitation Microsoft Word files (*.doc and *.docx), will be

                    produced     with    tracked   changes    and   comments       showing.

                    Supplemental requests for native format and color copies will be

                    governed by Section II. B. 2. a, above.

              v.    Any native files that are produced shall be produced with the

                    source file path provided, as well as all extracted text and

                    applicable metadata fields set forth in Section II. B. 2. e.

              w.    The parties shall exchange production samples as follows: (1)

                    standard production from each source (physical, email, electronic




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                    document, native, etc.) which fully exercises the metadata fields

                    set forth above; (2) replacement production; (3) clawback.

              x.    Redacted Document Log. The producing party will provide a log

                    identifying by bates/production number each document that

                    contains a redaction and the reason for the redaction. In addition,

                    if the redaction is based on attorney-client privilege or the work-

                    product doctrine, the document also will be addressed on the

                    privilege log and comply with any order entered governing the

                    privilege log.

              y.    Privilege Log. Privilege logs shall be produced in PDF format,

                    and shall be accompanied by an Excel copy of the log. The PDF

                    copy will be the official privilege log of record. The privilege log

                    also shall comply with any order entered governing the privilege

                    log.

              z.    Suppressed Metadata Log. The producing party will provide a

                    log identifying by bates/production number each document that

                    contains metadata field values subject to Privacy or Privilege

                    exceptions. Suppressed field values will be replaced in whole with

                    a “REDACTED” placeholder value.         The log will provide the

                    document BEGBATES value, field name suppressed and the

                    suppression reason.

              aa.   Foreign Language Documents. All documents shall be produced

                    in their original language.   If two documents are substantially




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                     identical except that they are in different languages, they shall not

                     be treated as exact duplicates. Nothing in this agreement shall

                     require a producing party to prepare a translation or certify the

                     translation that they possess.

   C.   Objections to Production of ESI

        1.    Nothing in this agreement waives a party’s right to object to production of

              ESI that is not reasonably accessible because of undue burden or cost.

              The identification of documents pursuant to this ESI Protocol need not

              include searches of ESI from sources that are not reasonably accessible

              because of undue burden or cost. Such sources that are not reasonably

              accessible include, but are not limited to: (a) deleted, fragmented or slack

              data; (b) random access, cache or other ephemeral data; (c) ESI contained

              on “Backup Systems” (e.g., systems that periodically store electronic

              information on tape or comparable media to permit recovery of the

              information in the event of a system failure); (d) on-line data access data

              such as temporary internet files or cookies; and (e) ESI that cannot be

              directly opened by its native application due to conversion to a different

              format for backup or archival purposes.

        2.    If asserting an objection based on paragraph II(C)(1), the responding party

              will inform the requesting party of the electronic information it is willing

              to produce, the nature and location of the information claimed to not be

              reasonably accessible, the reason(s) why the requested production would

              impose an undue burden or is unreasonably costly, and afford the




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              requesting party an opportunity to propose an alternative means of

              compliance with the request, including payment of all or part of the costs

              of retrieving the information. If an agreement cannot be reached as to the

              producing party’s objection to production, the parties shall seek judicial

              assistance.

   D.   Continuing Obligations

        1.    To expedite discovery of relevant electronic evidence and reduce costs,

              the parties’ computer experts will informally cooperate and discuss

              procedures or protocols to facilitate identification, retrieval and production

              of computerized information. This responsibility shall be continuing,

              unless otherwise ordered by the Court.

        2.    The inadvertent production of any materials constituting or containing

              attorney-client privileged information or attorney work product shall not

              waive any claim of privilege. If a receiving party disclosed the

              document(s) or information contained in the document(s) before being

              notified of its inadvertent production, the receiving party shall take

              reasonable steps to retrieve that information until the privilege claim has

              been resolved.

        3.    The parties will work with one another in good faith to resolve any issues,

              disputes or objections that arise in connection with electronic discovery

              issues before raising such matters with the court. Issues shall be raised

              promptly in writing, and the parties shall have good faith discussions to

              attempt to resolve the matter. The parties will use their best efforts to




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                         raise any objections or other requests related to a production within ninety

                         (90) days of receipt of that production. In any event, the parties must raise

                         any objections or other issues sufficiently in advance of the close of

                         discovery to permit good faith negotiations to resolve the matter,

                         telephonic conference with the Magistrate Judge pursuant to Section

                         VII(B) of the Rule 26 Instruction Order governing this case, and briefing

                         of any related motion such that the court has a reasonable time to rule

                         thereon prior to the close of discovery.

III.      Encryption. To maximize the security of information in transit, any media on which

          documents are produced may be encrypted by the producing Party. In such cases, the

          producing Party shall transmit the encryption key or password to the requesting Party,

          under separate cover, contemporaneously with sending the encrypted media.

IV.       Other Agreements. Other orders have been proposed to the Court, may have already

          been entered, or will be entered in the future that supplement, complement, or otherwise

          impact application of this Order and/or discovery in this case. For example, the parties

          note that this Order does not govern the content of privilege logs except as noted and a

          protective and confidentiality order is contemplated. This Order also does not address the

          scope of discovery, timing and order of discovery, and the procedure for search and

          culling of documents to be reviewed.

V.        Reservation. Each party reserves the right to object to production of documents in the

          format described herein to the extent that production in such format is impracticable or

          unreasonably burdensome or expensive.




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Date: _________________, 2020
                                 The Honorable Lisa Godbey Wood
                                 United States District Judge




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                                 IN THE UNITED STATES DISTRICT
                            COURT FOR THE SOUTHERN DISTRICT OF
                               GEORGIA BRUNSWICK DIVISION

   JANICE THERESA DOLLAR, as                      )
   Personal Representative of the ESTATE          )
   OF MICHAEL LAMAR DOLLAR, and                   )
   Individually,                                  )      Case No.: 2:20-cv-00078-LGW-BWC
                                                  )
                     Plaintiff,                   )
                                                  )
            v.                                    )
                                                  )
   MONSANTO COMPANY,                              )
                                                  )
                     Defendant.                   )
                                                  )

                 [PROPOSED] CONFIDENTIALITY AND PROTECTIVE ORDER
       It is hereby ORDERED and ADJUDGED, that:

       1.         This Protective and Confidentiality Order (“Protective Order”) governing the

disclosure of confidential, proprietary, and other protected or privileged information by any Party

to this action is hereby entered.

       2.         For purposes of this Protective Order, any Party may designate as “Confidential

Material” any information regarded as confidential by the Party that is contained in any

document, written discovery response, testimony, or other material produced or provided by that

Party or its representative(s) to any other Party, whether provided voluntarily, pursuant to formal

discovery procedures, or otherwise. Nonetheless, the Parties acknowledge that this Order does

not confer blanket protections on all disclosures or responses to discovery and that the protection

it affords from public disclosure and use extends only to the information or items that are entitled

to confidential treatment under the applicable legal principles.

       3.         Any Party may designate a document as Confidential Material by stamping it

“Confidential,” or “Subject to Protective Order.” All pages of any document that bear such a

legend are subject to this Protective Order. The Party shall affix the stamp in such a manner so as

not to obscure the text of the document.
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       4.      Due to the complexity of this action, which is estimated to involve millions of

pages of documents, and to facilitate the flow of discovery material, at the time of initial

production, the producing party may designate an entire document as “Confidential” if it believes

in good faith that any part of the document is confidential or if the document falls within a

category of documents that the designating party believes is likely to contain a large volume of

Confidential material.

       5.      After review, the receiving party may request that the producing party identify for

specific documents (no more than 500 documents in a 30 day period) what parts of those

documents are confidential. The challenge process described below in paragraph 16 may then be

used to resolve any disputes as to those designations. If it comes to the designating party’s

attention that information or items that it designated for protection do not qualify for protection,

that designating party must promptly notify all other Parties that it is withdrawing its mistaken

designation.

       6.      To the extent that information stored or recorded in the form of electronic or

magnetic media (including information, files, databases, or programs stored on any digital or

analog machine-readable device, computers, Internet sites, discs, networks, or tapes)

(“Computerized Material”) is produced by any Party in such form, the producing Party may

designate such materials as Confidential by marking the container in which the media is

produced “Confidential.” For electronically stored information produced in native format,

designation of documents as “Confidential” may be made in a produced metadata field or in the

file name. Whenever any Party receives Computerized Material or documents produced in native

format that have been designated as Confidential, if such Party reduces such material to

hardcopy form, that Party shall mark the hardcopy form with the “Confidential” designation.

       7.      If responses to interrogatories, requests for admission, or other written responses

to discovery quote, summarize, or contain Confidential Material, the Parties may designate them

as Confidential Material by marking the face of any such response with one of the legends set




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forth in paragraph (3) above and indicating the page and line references of the material that are to

be subject to this Protective Order.

       8.      A Party may designate the transcript of any deposition in this action or any

portion thereof, including exhibits thereto, as Confidential Material by either so advising the

court reporter and the Parties on the record during the taking of the deposition or within thirty

(30) days after receipt of the deposition transcript by written designation served upon the Parties.

If all or any portion of a deposition is designated as being subject to this Protective Order, the

court reporter and any Parties possessing any transcripts shall label the cover page of each

transcript or copy thereof to state that the deposition includes Confidential Material, and shall

label as Confidential each of the pages of the transcript or exhibits that contain Confidential

Material.

       9.      Any production of any confidential or proprietary material will not result in or be

construed as a waiver, in whole or in part, of (a) the producing Party’s claims of confidentiality

either as to the specific information disclosed or more generally as to the subject matter of the

information disclosed, or (b) the party’s right to later designate the material as Confidential

pursuant to this Protective Order. In the event that a Party produces any Confidential Material

without attaching one of the legends described in paragraph (3) above, the Party may

subsequently designate the material as Confidential at any time by forwarding to the opposing

Party copies of the material bearing one of the legends required by paragraph (3) and requesting

that the opposing Party destroy all prior copies of the Confidential Material. Upon receipt of such

a request, the opposing Party shall destroy all copies of the Confidential Material as originally

produced and replace them with copies bearing the appropriate confidentiality legend.

       10.     Written and oral communications between or among counsel for the Parties that

refer to or discuss Confidential Material automatically shall be subject to this Protective Order.

       11.     Confidential Material shall be treated by the Parties and their counsel as being

confidential and private. Any copy made of Confidential Material shall have the same status as

the original. The disclosure and use of Confidential Material shall be confined to the permissible


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disclosures and uses set forth below. Confidential Material shall be used (if otherwise relevant

and admissible) solely for the litigation of this action, including any appeals, and for any other

action brought by or on behalf of a former user of Monsanto glyphosate-containing products

alleging injuries or other damages therefrom, so long as all parties are bound by and subject to

another judicially approved protective and confidentiality order that is identical to or the

substantial equivalent to this order and has been agreed to by Monsanto. In addition, before

Confidential Material is shared with parties to other lawsuits or used for other lawsuits brought

by or on behalf of a former user of Monsanto glyphosate-containing products alleging injuries or

damages therefrom, the parties to the other action(s) also must have entered into an ESI protocol,

protocol governing privilege logs, and protocol or agreement regarding the search and culling of

data, including keyword search terms, or alternatively only to the extent that Monsanto has

consented in writing. Confidential Material shall not be used for any other purpose without

separate written agreement of the Party that produced the Confidential Information. All other

disclosure and use of Confidential Material during the pendency of this action or after its

termination are hereby prohibited. Nothing in this Protective Order, however, precludes

Monsanto Company from making disclosures to government authorities to the extent that it is

required to disclose Confidential Material by law.

        12.     Confidential Material may be disclosed only to the following persons and only

insofar as it is reasonably necessary to the effective prosecution of the Parties’ claims and

defenses:

                a.      Parties, their representatives, in-house counsel and regular employees who

are actively engaged in or actively overseeing this action, or are involved in complying with any

Monsanto Company legal obligations to provide information to governmental authorities;

                b.      Counsel of record in this action, including their associated attorneys,

paralegal and secretarial personnel, and other support staff;

                c.      Experts and consultants (including their employees) who are retained by a

Party to assist in this action;


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               d.      Third-party contractors and their employees who are retained by one or

more Parties to provide litigation-support or copy services in connection with this action;

               e.      Witnesses or prospective witnesses in this action;

               f.      Court reporters and other persons involved in recording deposition

testimony in this action;

               g.      Named plaintiffs in other actions brought by or on behalf of a former user

of Monsanto glyphosate-containing products alleging injuries or other damages therefrom and

their counsel of record, including paralegal, clerical, secretarial and other staff employed or

retained by such other plaintiffs’ counsel of record if the conditions of Paragraph 11 above have

been met;

               h.      Court personnel of this Court, or, if on appeal, of a court with appellate

jurisdiction; and

               i.      Jurors in this action.

       Counsel for each Party disclosing Confidential Material in accordance with this

paragraph shall (i) advise each person to whom such disclosure is made (except Court personnel,

jurors, and government authorities) of the terms of this Protective Order and of the obligation of

each such person to comply with those terms and (ii) provide a copy of this Protective Order to

each such person. Prior to the disclosure of any Confidential Information to any person identified

in subparagraphs c, d, e, f and g above, such person shall sign an Acknowledgment, in the form

attached hereto, acknowledging that he or she has read this Protective Order and shall abide by

its terms. Counsel shall maintain a list of persons to whom confidential materials are disclosed

(excluding jurors, Court personnel, and government authorities). Upon learning of any disclosure

of Confidential Material to any person not authorized by this paragraph to receive Confidential

Material, the Party who so learns shall immediately (i) inform in writing the Party from which

the Confidential Material was originally received of such disclosure, including to whom the

material was disclosed, and (ii) take all necessary steps to retrieve as soon as possible each and




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every copy of all Confidential Material from the unauthorized person and any person to whom

the unauthorized person disclosed the Confidential Material.

       13.     Disclosure of Confidential Material in accordance with this Protective Order shall

not effect, nor shall it be deemed to effect a waiver of the attorney-client privilege, the work-

product immunity, or any other privilege or immunity from disclosure to which such

Confidential Material may be entitled, whether in this action or in any other action or as to any

non-party.

       14.     Any use of confidential or protected material at trial shall be governed by a

separate agreement or order.

       15.     Each Party agrees that in the event it is served by a non-party with a subpoena or

request for production of Confidential Material originally received from another party, it will

give sufficient notice to allow that Party a reasonable opportunity to intervene to oppose such

production. The notice shall include a description of the material sought, the date and location

for compliance with the subpoena or request, the identity of the requester of the Confidential

Material, the docket number of the matter where requested, and all other information reasonably

necessary to intervene and oppose such production.

       16.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       16.1.   Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

       16.2.   Meet and Confer. The Challenging Party shall initiate the dispute resolution

process by providing written notice of each designation it is challenging and describing the basis

for each challenge. No more than 500 documents shall be submitted to the challenge process in a

30-day period. To avoid ambiguity as to whether a challenge has been made, the written notice


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must recite that the challenge to confidentiality is being made in accordance with this specific

paragraph of the Protective Order. The parties shall attempt to resolve each challenge in good

faith and must begin the process by conferring directly (in voice to voice dialogue; other forms

of communication are not sufficient) within 14 days of the date of service of notice. In

conferring, the Challenging Party must explain the basis for its belief that the confidentiality

designation was not proper and must give the Designating Party an opportunity to review the

designated material, to reconsider the circumstances, and, if no change in designation is offered,

to explain the basis for the chosen designation. During the meet and confer process, the

Designating Party must state the bases for its objections to each challenge on a document by

document basis. A Challenging Party may proceed to the next stage of the challenge process only

if it has engaged in this meet and confer process first or establishes that the Designating Party is

unwilling to participate in the meet and confer process in a timely manner.

       16.3    Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the parties shall schedule a telephonic conference with the Magistrate Judge

pursuant to Section VII of the Rule 26 Instruction Order governing this case. If the dispute still

cannot be resolved following a telephonic conference with the Magistrate Judge, the Challenging

Party shall file a “Notice of Improper Confidential Designation” with the Court (“Notice”). The

Notice shall list the challenged documents by Bates label (or other identifying label if no Bates

label). The Designating Party shall file a “Motion to Maintain Confidentiality” within fourteen

(14) calendar days of the Notice, explaining why the documents should or should not be de-

designated and, if applicable, why the documents are not reasonably likely to be used for any

litigation purpose. Failure by the Designating Party to make such a Motion within 14 days of the

Notice shall automatically waive the confidentiality designation for each challenged designation.

The Challenging Party will then have seven (7) calendar days to file a Response. There shall be

no Reply absent leave of Court. The Parties may stipulate in writing to allow additional time for

the Designating Party to make such a Motion to Maintain Confidentiality or the Designating

Party may move the Court for additional time. The burden of persuasion as to whether


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information is confidential shall be on the Designating Party. If the challenged documents could

not reasonably be used for any litigation purpose, the Court will grant the Motion to Maintain

Confidentiality without prejudice to a new objection by the Challenging Party at a later date.

Unless the Designating Party has waived the confidentiality designation by failing to file a

Motion to Maintain Confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the Producing Party’s

designation until the Court rules on the challenge.

       17.     The production by any Party in the course of discovery in these proceedings of a

document subject to a claim of privilege, work product, protection from disclosure under federal

or state law, or other statutory or court-ordered confidentiality, will not result in a waiver of any

of the foregoing protections, whether in these or any other proceedings, for the produced

document or any other withheld document covering the same or similar subject matter. Upon

notice of such disclosure, all originals and copies thereof, shall be returned to the producing

Party within twenty (20) business days of receipt of such notice and the receiving party shall not

use such information for any purpose until further Order of the Court. Such returned material

shall be deleted from any litigation-support or other database. All notes or other work product

reflecting the contents of such disclosed materials shall be destroyed, and receiving counsel shall

certify in writing to the producing party’s counsel compliance with this paragraph. In the event

of disagreement, until such time as the disagreement is resolved, the receiving Party will return

the document and will not review or use the document or its contents. If the substance of the

protected document is discussed in a deposition prior to the time of discovery or notification of

the inadvertent disclosure, the Parties agree that such testimony may not be used for any purpose

until the dispute is resolved by agreement of the Parties or by Court order. The party to whom

any produced document was returned shall retain the returned materials until the end of the case,

including any appeals. Within fifteen (15) business days after notice of the disclosure, the

producing Party shall provide a log that describes the basis for the claim that the material is

privileged or otherwise protected from disclosure. After receipt of such a privilege log, any Party


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may dispute a claim of privilege or protection, however, prior to any submission to the Court for

an in camera review, the Party disputing a claim of privilege or protection shall provide in

writing the identification of the documents for which it questions the claim of privilege or

protection and the reasons (including legal support) for its assertion that the documents are not

privileged or protected. Within fifteen (15) business days, the Party seeking to support the claim

of privilege or protection shall provide a written response supporting the claim of privilege or

protection (including legal support). The Parties will then meet and confer in good faith as to the

claims of privilege or protection. If agreement cannot be met after ten (10) business days, the

parties will schedule a telephonic conference with the Magistrate Judge in an attempt to resolve

the challenge pursuant to Section VII of the Rule 26 Instruction Order governing this case. If the

dispute still cannot be resolved following a telephonic conference with the Magistrate Judge, any

party may thereafter submit the material under seal to the Court for a determination as to

privilege or protection. The burden of persuasion in any such challenge proceeding shall be on

the party asserting privilege or protection.

       18.     The Parties will use the following procedure for submitting to the Court papers

consisting of, relating to, containing, incorporating, reflecting, describing or attaching

Confidential Material: any such material shall be filed in a sealed envelope, labeled with the case

name, case number, the motion to which the documents relate, and a listing of the titles of the

documents in the envelope, and shall bear the legend: THIS DOCUMENT CONTAINS

PROTECTED INFORMATION COVERED BY A PROTECTIVE ORDER OF THE COURT

AND IS SUBMITTED UNDER SEAL PURSUANT TO THAT PROTECTIVE ORDER. THE

PROTECTED CONTENTS OF THIS DOCUMENT MAY NOT BE DISCLOSED WITHOUT

EXPRESS ORDER OF THE COURT. Such material shall be kept under seal until further order

of the Court; however, such materials shall only be available to the Court and counsel of record,

and to all persons entitled to receive such information under the terms of this Order. When

serving such material, the parties shall select the “Sealed, electronic” option to ensure that online

access is restricted as contemplated by this Order. The parties shall take reasonable steps to


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minimize such sealing. Within seven (7) days of the submission of any material under seal, the

parties shall confer to determine if the Producing Party objects to the filing of the Confidential

Information in unsealed form. To the extent of the parties’ agreement concerning the treatment

of the Protected Information, the filing party may file the subject materials in unsealed form. To

the extent the parties are unable to reach agreement, either party may file a motion to address the

appropriate treatment of the subject materials. On such motion, the burden of persuasion as to

whether information is confidential shall be on the Designating Party. The material shall remain

sealed unless the Court orders otherwise. When exhibits to court filings are needed, the parties

shall file only the pages necessary for their arguments unless the Court requests additional

material.

       19.     This Protective Order shall not prevent the Parties from using or disclosing their

own documents and other materials in any manner for any business or personal reason,

notwithstanding their designation as Confidential Material subject to this Protective Order. The

use or disclosure by a Party of its own documents or materials shall not terminate, waive or

otherwise diminish in any way the status of such documents or materials as Confidential

Materials subject to this Protective Order.

       20.     Upon the final determination, including any appeals related thereto, of this action,

the producing Party will send a letter to the receiving Party, stating that the lawsuit has

concluded and requesting that all Confidential Material be returned or destroyed. If, at that time,

the producing Party has entered an agreement permitting use of the Confidential Materials in

another action, the producing Party may wait until resolution of that action to send the letter.

Within thirty (30) days after receipt of that letter, all attorneys in possession of Confidential

Material shall return all Confidential Material to the disclosing Party or, alternatively, shall

immediately destroy all such material. All counsel of record shall, within forty-five days of this

final determination, certify that all Confidential Material, including any such material disclosed

to any other entity, has been returned or destroyed. The sole exception to the requirements

described above is that information that has been incorporated into attorney work product or


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other privileged documents need not be returned or destroyed. Such information shall be retained

by the person to whom the information was produced, and shall be treated as Confidential

Material in accordance with this Order.

       21.     This Protective Order shall not enlarge or affect the proper scope of discovery in

this or any other lawsuit, nor shall this Protective Order imply that material designated (or not

designated) as Confidential Material under the terms of this Protective Order is properly

discoverable, relevant, or admissible in this or any other lawsuit.

       22.     Each Party shall retain all rights and remedies available to it under the law for the

enforcement of this order against anyone who violates it.

       23.     The restrictions of this Protective Order shall continue to apply after this action is

finally determined and the Court shall retain jurisdiction for all purposes in connection therewith.

All persons receiving or given access to Confidential Material in accordance with the terms of

this Protective Order consent to the continuing jurisdiction of the Court for the purposes of

enforcing this Protective Order and remedying any violations thereof.

       24.     If a party concludes that certain documents require special or additional

protections beyond the protections of this Order such as a designation of “Confidential –

Attorneys’ Eyes Only,” the parties will meet and confer about those documents at that time and

present the issue to the Court if no agreement can be reached.

       IT IS SO ORDERED.




Date: _________________, 2020
                                            The Honorable Lisa Godbey Wood
                                            United States District Judge




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                                EXHIBIT A
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

          I, ___________________________ [print or type full name], of

                                                         [print or type full address], declare under

penalty of perjury that I have read in its entirety and understand the Protective and

Confidentiality Order that was issued by the United States District Court for the Southern

District of Georgia on __________________ [date] in Dollar v. Monsanto Co., Civil Action No.

2:20-cv-0078-LGW-BWC. I agree to comply with and to be bound by all the terms of this

Protective and Confidentiality Order, and I understand and acknowledge that failure to so

comply could expose me to sanctions and punishment in the nature of contempt. I solemnly

promise that I will not disclose in any manner any information or item that is subject to this

Protective and Confidentiality Order to any person or entity except in strict compliance with the

provisions of this Order.

          I further agree to submit to the jurisdiction of the United States District Court for the

Southern District of Georgia for the purpose of enforcing the terms of this Protective and

Confidentiality Order, even if such enforcement proceedings occur after termination of this

action.

          I hereby appoint __________________________ [print or type full name] of
_________________________________________________________ [print or type full address

and telephone number] as my Georgia agent for service of process in connection with this action

or any proceedings related to enforcement of this Stipulated Protective Order.


Date: ______________________________________

City and State where sworn and signed: _________________________________

Printed name: _______________________________

Signature: __________________________________
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                                    IN THE UNITED STATES DISTRICT
                               COURT FOR THE SOUTHERN DISTRICT OF
                                  GEORGIA BRUNSWICK DIVISION
   JANICE THERESA DOLLAR, as                         )
   Personal Representative of the ESTATE             )
   OF MICHAEL LAMAR DOLLAR, and                      )
   Individually,                                     )      Case No.: 2:20-cv-00078-LGW-BWC
                                                     )
                      Plaintiff,                     )
                                                     )
            v.                                       )
                                                     )
   MONSANTO COMPANY,                                 )
                                                     )
                      Defendant.                     )
                                                     )

                      [PROPOSED] ORDER GOVERNING PRIVILEGE LOGS

       For good cause shown, the Court hereby orders as follows:

       A.        Asserting Privilege or Protection. A party who withholds or redacts documents

or information contained within a document on the grounds of attorney-client privilege and/or

work product protection, or any other asserted privilege, shall provide:

                 1.       A listing of such documents in electronic spreadsheet format providing the

       following objective metadata fields (“objective metadata” does not include substantive

       content from, or a subjective description of, the document being withheld or redacted)

       where available:

                          a.       the Bates number of the document (or unique document identifier);

                          b.       the nature of the privilege asserted (“attorney-client privilege” or

                                   “attorney work product”);

                          c.       the name(s) of the author(s) of the document (if known or

                                   knowable) (for email chains, because metadata only captures the




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                          author(s) of the most recent email in the chain, all emails in the

                          same chain will be listed together in the log and the emails within

                          the chain to which privilege is asserted will state “attorney-client

                          privilege” or “attorney work product”);

                  d.      the name(s) of the recipient(s) of the document, including anyone

                          who was sent the document as a “CC” or a “BCC” (if known or

                          knowable) (for email chains, because metadata only captures the

                          recipients of the most recent email in the chain, all emails in the

                          same chain will be listed together in the log and the emails within

                          the chain to which privilege is asserted will state “attorney-client

                          privilege” or “attorney work product”);

                  e.      the document type, including, for example, whether the document

                          is an email, paper file, a spreadsheet, or other descriptive identifier

                          of the document type; and

                  f.      the date the document was created (if known or knowable), sent (if

                          applicable), and last modified (if applicable).

          2.      The names of the individuals who are identified prior to providing the

   privilege log as being attorneys will be highlighted on the log; if it is discovered that

   names of other attorneys on the log were not highlighted, the opposing party will be

   notified with an offer to provide a replacement log. In addition to the preceding

   paragraph, the withholding/redacting party will also include the following information in

   its privilege log entries (provided the party remains willing to meet and confer further on

   specific documents after production of this privilege log):




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                Document Type        From and to whom            Content
                Email                from attorney to client     conveying legal advice
                Email Attach.        from client to attorney     requesting legal advice
                Memorandum           between attorneys           discussing legal advice
                Letter               between clients             discussing litigation
                                     between client and          prepared in anticipation of/for
                Other Document
                                     attorney                    litigation

       3.      As an alternative to the categories in the preceding paragraph, or where they do

not apply, the withholding/redacting party may provide alternate individualized descriptions for

such documents.

       B.      Challenging Asserted Privilege and Protection. After receipt of such a

privilege log, any Party may dispute a claim of privilege or protection, however, prior to any

submission to the Court for an in camera review, the Party disputing a claim of privilege or

protection shall provide in writing the identification of the documents for which it questions the

claim of privilege or protection and the reasons (including legal support) for its assertion that the

documents are not privileged or protected. Within thirty days, the Party seeking to support the

claim of privilege or protection shall provide a written response supporting the claim of privilege

or protection (including legal support). The Parties will then meet and confer in good faith as to

the claims of privilege or protection. If agreement cannot be met after fifteen (15) business days,

the parties will, pursuant to Section VII(B) of the Rule 26 Instruction Order governing this case,

schedule a telephonic conference with the Magistrate Judge in an attempt to resolve the

challenge. If the dispute still cannot be resolved following conference with the Magistrate Judge,

any party may thereafter submit the material under seal to the Court for a determination as to

privilege or protection. If/when challenges are presented to the Court, the parties’ positions on

those documents will be affirmed by counsel pursuant to Rule 11. If a party believes the




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circumstances require different timing or procedure, they shall meet and confer on alternatives to

resolving any disputes and if unable to agree may present the issue to the Court.

       C.      Time for Providing Privilege Log. The producing party shall provide the

information required by paragraph “A” to the receiving party within 30 days of withholding or

redacting the related documents.



Date: _________________, 2020
                                           The Honorable Lisa Godbey Wood
                                           United States District Judge




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                              IN THE UNITED STATES DISTRICT
                          COURT FOR THE SOUTHERN DISTRICT OF
                             GEORGIA BRUNSWICK DIVISION

   JANICE THERESA DOLLAR, as        )
   Personal Representative of the ESTATE
                                    )
   OF MICHAEL LAMAR DOLLAR, and     )
   Individually,                    )    Case No.: 2:20-cv-00078-LGW-BWC
                                    )
            Plaintiff,              )
                                    )
       v.                           )
                                    )
   MONSANTO COMPANY,                )
                                    )
            Defendant.              )
                                    )
                       [PROPOSED] RULE 502(D) ORDER

       1.      The production of privileged or work-product protected documents, electronically

stored information (“ESI”) or information, whether inadvertent or otherwise, is not a waiver of

the privilege or protection from discovery in this case or in any other federal or state proceeding.

This Order shall be interpreted to provide the maximum protection allowed by Federal Rule of

Evidence 502(d).

       2.      Nothing contained herein is intended to or shall serve to limit a party’s right to

conduct a review of documents, ESI or information (including metadata) for relevance,

responsiveness, and/or segregation of privileged and/or protected information before production.



Date: _________________, 2020
                                            The Honorable Lisa Godbey Wood
                                            United States District Judge




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